Case 1:20-cr-00030-BMC Document 17-1 Filed 11/04/20 Page 1 of 4 PageID #: 50




MPR/RCH/EMR
F.#2019R00927

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA

       -against-                                  STIPULATION & PROTECTIVE ORDER

IVAN REYES ARZATE,                                        20-CR-30 (BMC)

                          Defendant.

---------------------------X

              IT IS HEREBY STIPULATED AND AGREED by the undersigned attorneys

and ORDERED by the Court, pursuant to Federal Rule of Criminal Procedure 16(d), that:

              1.      This Protective Order governs materials that the government has and

continues to produce to defense counsel pursuant to Federal Rule of Criminal Procedure

16(d) and marked as “PROTECTED MATERIAL” pursuant to the Protective Ordered

entered by this Court on April 8, 2020 (“Protected Materials”).

              2.      Protected Materials specifically identified by the government as

material designated for “ATTORNEYS’ EYES ONLY” (the “Attorneys’ Eyes Only

Materials”) shall be treated as if it had been designated as “PROTECTED MATERIAL” with

the additional limitations discussed herein.

              3.      Attorneys’ Eyes Only Materials may be reviewed only by Defense

Counsel and Defense Counsel’s Team, as defined in the Protected Order entered by this

Court on April 8, 2020. Attorneys’ Eyes Only Material may not be disseminated to or
Case 1:20-cr-00030-BMC Document 17-1 Filed 11/04/20 Page 2 of 4 PageID #: 51




reviewed by any other person, including the Defendant. Attorneys’ Eyes Only Material may

be shared with the Defendant under the constraints applicable to Protected Materials two

weeks before trial unless the government shows good cause why it should not be shared. If

the government and Defense Counsel are not able to reach agreement on the sharing of

Attorneys’ Eyes Only Materials, the government and Defense Counsel may seek intervention

from the Court on an ex parte basis or otherwise.

              4.     Any documents, material, or information may be designated Attorneys’

Eyes Only Material only upon a good-faith belief by the government that designation as

Protected Material provides insufficient protection to such materials. If the government and

Defense Counsel do not agree that certain material should be designated as Attorneys’ Eyes

Only, Defense Counsel may provide notice to the government and a reasoned explanation

regarding why Defense Counsel does not believe the materials require treatment as Attorneys’

Eyes Only Material. To the extent the parties do not agree, the government may make an

application to the Court and seek to establish good cause regarding why the material should

be treated as Attorneys’ Eyes Only Material. Defense Counsel shall treat the material as

Attorneys’ Eyes Only Material pending any determination by the Court.

              5.     Any documents, material, or information determined to be Attorneys’

Eyes Only Material may be so designated by stamping the legend “ATTORNEYS’ EYES

ONLY” on the document or by otherwise indicating to Defense Counsel the appropriate

designation of the material or information. Where electronic files or documents are produced

in a format that makes stamping impractical, such files and documents may be designated by

appending to the media on which such a file or documents are produced, file name, or to the
Case 1:20-cr-00030-BMC Document 17-1 Filed 11/04/20 Page 3 of 4 PageID #: 52




electronic folder in which the file is located, information indicating that the file contains

Attorneys’ Eyes Only material.

               6.     The Defendant and Defense Counsel will return to the government the

Attorneys’ Eyes Only Material and all copies thereof, when the Defendant concludes all

efforts to defend against the charges in the above-captioned case and any superseding

indictment, including but not limited to preparing for trial and any sentencing, appeal, or

collateral attack, which was commenced within a year of the exhaustion of the Defendant’s

appellate rights, involving the charges in the above-captioned case.

               7.     In the event the terms of this Protective Order are violated, Defense

Counsel or the government shall advise the Court and opposing counsel immediately of the

nature and circumstances of such violation.
Case 1:20-cr-00030-BMC Document 17-1 Filed 11/04/20 Page 4 of 4 PageID #: 53




              8.     This Court shall retain jurisdiction over all persons subject to this Order

to the extent necessary to enforce any obligations arising hereunder or to impose sanctions

for any contempt thereof.

Dated:        Brooklyn, New York
              November ___,
                         4  2020

                                                    SETH D. DUCHARME
                                                    Acting United States Attorney
                                                    Eastern District of New York



  ____________________________                  By: ____________________________
  Mark DeMarco, Esq.                                Michael P. Robotti
  Attorney for Ivan Reyes-Arzate                    Ryan C. Harris
                                                    Erin M. Reid
                                                    Assistant U.S. Attorneys




SO ORDERED.



____________________________________
THE HONORABLE BRIAN M. COGAN
UNITED STATES DISTRICT JUDGE
EASTERN DISTRICT OF NEW YORK
